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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

 

 

Alexandria Division
UNITED STATES OF AMERICA
Vv. Case No. 18-MJ-406
SEITU SULAMAN KOKAY],
Defendant.
ORDER

The UNITED STATES, having moved for the limited unsealing of the above-captioned
matter and the documents filed in it; and

The COURT, having considered the motion; it is hereby

ORDERED, ADJUDGED, and DECREED that this Order and all other the documents
filed in the above-captioned matter, with the exception of the affidavit in support of the criminal
complaint and the government’s motion for limited unsealing, be unsealed. The sealed complaint
affidavit may nonetheless be reviewed in the presence of defense counsel by such individuals as

defense counsel deems necessary for preparing a defense.

    

[s/
Theresa Carroll Buchanan
United States Magistrate Judge

 

Honorable Theresa C. Buchanan
Date: September U , 2018 United States Magistrate Judge
Alexandria, Virginia
